












Dismissed and Memorandum Opinion filed August 9, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00828-CR

____________

&nbsp;

VALDEMAR M. RAMIREZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 351st District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1266106

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a guilty plea to possession of a controlled
substance.&nbsp; In accordance with the terms of a plea bargain agreement with the
State, the trial court sentenced appellant on July 7, 2010, to confinement for
six months in the State Jail Division of the Texas Department of Criminal
Justice.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Seymore, Boyce, and Christopher.

Do Not Publish C Tex. R. App. P. 47.2(b)





